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                        Exhibit F:

 Inappropriate Criteria Were Used to
 Identify Tax-Exempt Applications for
Review, Treasury Inspector General for
      Tax Administration Report
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TREASURY INSPECTOR GENERAL FOR TAX ADMINISTRATION




                     Inappropriate Criteria Were Used to
                 Identify Tax-Exempt Applications for Review



                                           May 14, 2013

                            Reference Number: 2013-10-053




 This report has cleared the Treasury Inspector General for Tax Administration disclosure review process
  and information determined to be restricted from public release has been redacted from this document.


 Redaction Legend:
 1 = Tax Return/Return Information


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 Website        | http://www.treasury.gov/tigta
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                                                   HIGHLIGHTS


INAPPROPRIATE CRITERIA WERE                           intervention was started soon after receipt, no
USED TO IDENTIFY TAX-EXEMPT                           work was completed on the majority of these
APPLICATIONS FOR REVIEW                               applications for 13 months. This was due to
                                                      delays in receiving assistance from the Exempt
                                                      Organizations function Headquarters office.
Highlights                                            For the 296 total political campaign intervention
                                                      applications TIGTA reviewed as of
Final Report issued on May 14, 2013                   December 17, 2012, 108 had been approved,
                                                      28 were withdrawn by the applicant, none had
                                                      been denied, and 160 were open from 206 to
Highlights of Reference Number: 2013-10-053
                                                      1,138 calendar days (some for more than
to the Internal Revenue Service Acting
                                                      three years and crossing two election cycles).
Commissioner, Tax Exempt and Government
Entities Division.                                    More than 20 months after the initial case was
                                                      identified, processing the cases began in
IMPACT ON TAXPAYERS                                   earnest. Many organizations received requests
Early in Calendar Year 2010, the IRS began            for additional information from the IRS that
using inappropriate criteria to identify              included unnecessary, burdensome questions
organizations applying for tax-exempt status to       (e.g., lists of past and future donors). The IRS
review for indications of significant political       later informed some organizations that they did
campaign intervention. Although the IRS has           not need to provide previously requested
taken some action, it will need to do more so         information. IRS officials stated that any donor
that the public has reasonable assurance that         information received in response to a request
applications are processed without                    from its Determinations Unit was later destroyed.
unreasonable delay in a fair and impartial
                                                      WHAT TIGTA RECOMMENDED
manner in the future.
                                                      TIGTA recommended that the IRS finalize the
WHY TIGTA DID THE AUDIT                               interim actions taken, better document the
TIGTA initiated this audit based on concerns          reasons why applications potentially involving
expressed by members of Congress. The                 political campaign intervention are chosen for
overall objective of this audit was to determine      review, develop a process to track requests for
whether allegations were founded that the IRS:        assistance, finalize and publish guidance,
1) targeted specific groups applying for              develop and provide training to employees
tax-exempt status, 2) delayed processing of           before each election cycle, expeditiously resolve
targeted groups’ applications, and 3) requested       remaining political campaign intervention cases
unnecessary information from targeted groups.         (some of which have been in process for
                                                      three years), and request that social welfare
WHAT TIGTA FOUND                                      activity guidance be developed by the
                                                      Department of the Treasury.
The IRS used inappropriate criteria that
identified for review Tea Party and other             In their response to the report, IRS officials
organizations applying for tax-exempt status          agreed with seven of our nine recommendations
based upon their names or policy positions            and proposed alternative corrective actions for
instead of indications of potential political         two of our recommendations. TIGTA does not
campaign intervention. Ineffective management:        agree that the alternative corrective actions will
1) allowed inappropriate criteria to be developed     accomplish the intent of the recommendations
and stay in place for more than 18 months,            and continues to believe that the IRS should
2) resulted in substantial delays in processing       better document the reasons why applications
certain applications, and 3) allowed unnecessary      potentially involving political campaign
information requests to be issued.                    intervention are chosen for review and finalize
                                                      and publish guidance.
Although the processing of some applications
with potential significant political campaign



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                                            DEPARTMENT OF THE TREASURY
                                                 WASHINGTON, D.C. 20220




TREASURY INSPECTOR GENERAL
  FOR TAX ADMINISTRATION




                                             May 14, 2013


 MEMORANDUM FOR ACTING COMMISSIONER, TAX EXEMPT AND GOVERNMENT
                ENTITIES DIVISION


 FROM:                       Michael E. McKenney
                             Acting Deputy Inspector General for Audit

 SUBJECT:                    Final Audit Report – Inappropriate Criteria Were Used to Identify
                             Tax-Exempt Applications for Review (Audit # 201210022)

 This report presents the results of our review to determine whether allegations were founded that
 the Internal Revenue Service (IRS): 1) targeted specific groups applying for tax-exempt status,
 2) delayed processing of targeted groups’ applications for tax-exempt status, and 3) requested
 unnecessary information from targeted groups. This audit was initiated based on concerns
 expressed by members of Congress and reported in the media regarding the IRS’s treatment of
 organizations applying for tax-exempt status. This review is included in our Fiscal Year 2013
 Annual Audit Plan and addresses the major management challenge of Tax Compliance
 Initiatives.
 We would like to clarify a few issues based on the IRS response to our report. The response
 states that our report views approvals as evidence that the Exempt Organizations function should
 not have looked closely at those applications. We disagree with this statement. Our objection
 was to the criteria used to identify these applications for review. We believe all applications
 should be reviewed prior to approval to determine whether tax-exempt status should be granted.
 The IRS’s response also states that issues discussed in the report have been resolved. We
 disagree with this statement as well. Nine recommendations were made to correct concerns we
 raised in the report, and corrective actions have not been fully implemented. Further, as our
 report notes, a substantial number of applications have been under review, some for more than
 three years and through two election cycles, and remain open. Until these cases are closed by the
 IRS and our recommendations are fully implemented, we do not consider the concerns in this
 report to be resolved. Management’s complete response to the draft report is included as
 Appendix VIII.




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                              Inappropriate Criteria Were Used to
                          Identify Tax-Exempt Applications for Review



Copies of this report are also being sent to the IRS managers affected by the report
recommendations. If you have any questions, please contact me or Gregory D. Kutz,
Assistant Inspector General for Audit (Management Services and Exempt Organizations).




                                                                                          2



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                                           Inappropriate Criteria Were Used to
                                       Identify Tax-Exempt Applications for Review




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                         Inappropriate Criteria Were Used to
                     Identify Tax-Exempt Applications for Review




                            Abbreviations


BOLO                  Be On the Look Out
EO                    Exempt Organizations
I.R.C.                Internal Revenue Code
IRS                   Internal Revenue Service




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                                    Inappropriate Criteria Were Used to
                                Identify Tax-Exempt Applications for Review




                                           Background

Organizations, such as charities, seeking Federal tax exemption are required to file an application
with the Internal Revenue Service (IRS). Other organizations, such as social welfare
organizations, may file an application but are not required to do so. The IRS’s Exempt
Organizations (EO) function, Rulings and Agreements office, which is headquartered in
Washington, D.C., is responsible for processing applications for tax exemption. Within the
Rulings and Agreements office, the Determinations Unit in Cincinnati, Ohio, is responsible for
reviewing applications as they are received to determine whether the organization qualifies for
tax-exempt status.
In Fiscal Year 2012,1 70 percent of all closed applications for tax-exempt status were approved
during an initial review with little or no additional information from the organizations. If
substantial additional information is needed, the application is placed in unassigned inventory
until it can be assigned to a specialist in the Determinations Unit for further processing. The
specialist develops a letter(s) requesting the additional information and issues it to the
organization. Once the specialist receives all the necessary information to determine whether an
organization should be afforded tax-exempt status, a final determination letter is issued to the
organization either approving or denying the request for tax-exempt status.
If the Determinations Unit needs technical assistance processing applications, it may call upon
the Technical Unit in the Rulings and Agreements office in Washington, D.C.2 The IRS’s goal
for processing all types of applications for tax-exempt status was 121 days in Fiscal Year 2012;
however, some cases may take substantially longer. For example, the EO function states in its
Fiscal Year 2013 Work Plan that applications requiring additional information are not assigned
for review until an average of five months after they are received.
Most organizations requesting tax-exempt status must submit either a Form 1023, Application
for Recognition of Exemption Under Section 501(c)(3) of the Internal Revenue Code, or
Form 1024, Application for Recognition of Exemption Under Section 501(a), depending on the
type of tax-exempt organization it desires to be. For example, a charitable organization would
request exemption under Internal Revenue Code (I.R.C.) Section (§) 501(c)(3),3 whereas a social
welfare organization would request exemption under I.R.C. § 501(c)(4).4



1
  A 12-consecutive-month period ending on the last day of any month. The Federal Government’s fiscal year begins
on October 1 and ends on September 30.
2
  For a high-level organizational chart of offices referenced in this report, see Appendix V.
3
  I.R.C. § 501(c)(3) (2012).
4
  I.R.C. § 501(c)(4) (2012).
                                                                                                        Page 1


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                                        Inappropriate Criteria Were Used to
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The I.R.C. section and subsection an organization is granted tax exemption under affects the
activities it may undertake. For example, I.R.C. § 501(c)(3) charitable organizations are
prohibited from directly or indirectly participating in or intervening in any political campaign on
behalf of or in opposition to any candidate for public office (hereafter referred to as political
campaign intervention).5 However, I.R.C. § 501(c)(4) social welfare organizations,
I.R.C. § 501(c)(5)6 agricultural and labor organizations, and I.R.C. § 501(c)(6)7 business leagues
may engage in limited political campaign intervention. Figure 1 highlights certain characteristics
of common types of tax-exempt organizations.
                               Figure 1: Characteristics of Certain
                            Common Types of Tax-Exempt Organizations
                                                                                      I.R.C. §§ 501(c)(4),
    Characteristic                                   I.R.C. § 501(c)(3)                 (c)(5), and (c)(6)
    May receive tax deductible charitable
                                                              Yes                               No
    contributions.
    May engage in political campaign                                              Limited (must not constitute
                                                              No
    intervention.                                                               primary activity of organization)
    Must publicly disclose the identity of
                                                              No                                No
    its donors.
                                                                                     Yes (unlimited amount
    May engage in lobbying8 (i.e., legislative        Limited (must not
                                                                                       if in furtherance of
    activity).                                         be substantial)
                                                                                     tax-exempt purposes)
    May engage in general advocacy9 not                                              Yes (unlimited amount
                                                     Yes (permitted as an
    related to legislation or the election of                                          if in furtherance of
                                                     educational activity)
    candidates.                                                                      tax-exempt purposes)
 Must apply with the IRS.                               Yes                                     No
Source: Draft Advocacy Guide Sheet and Internal Revenue Manual.


5
  Political campaign intervention is the term used in Treasury Regulations §§ 1.501(c)(3)-1, 1.501(c)(4)-1,
1.501(c)(5)-1, and 1.501(c)(6)-1.
6
  I.R.C. § 501(c)(5) (2012).
7
  I.R.C. § 501(c)(6) (2012).
8
  An organization engages in lobbying, or legislative activities, when it attempts to influence specific legislation by
directly contacting members of a legislative body (Federal, State, or local) or encouraging the public to contact those
members regarding that legislation. An organization also engages in lobbying when it encourages the public to take
a position on a referendum. Lobbying is distinguished from political campaign intervention because lobbying does
not involve attempts to influence the election of candidates for public office.
9
  An organization engages in general advocacy when it attempts to 1) influence public opinion on issues germane to
the organization’s tax-exempt purposes, 2) influence nonlegislative governing bodies (e.g., the executive branch or
regulatory agencies), or 3) encourage voter participation through “get out the vote” drives, voter guides, and
candidate debates in a nonpartisan, neutral manner. General advocacy basically includes all types of advocacy other
than political campaign intervention and lobbying.
                                                                                                              Page 2


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                                      Inappropriate Criteria Were Used to
                                  Identify Tax-Exempt Applications for Review



During the 2012 election cycle, the activities of tax-exempt organizations received media
coverage concerning the amount of money spent on influencing elections. According to the
Center for Responsive Politics, tax-exempt groups, such as I.R.C. § 501(c)(4), I.R.C. § 501(c)(5),
and I.R.C. § 501(c)(6) organizations, spent $133 million in Calendar Year 2010 on Federal
candidate-oriented expenditures. In Calendar Year 2012, this figure increased to $315 million.10
In addition, as shown in Figure 2, the number of applications for tax-exempt status has increased
over the past four fiscal years.11
                               Figure 2: Number of Applications for
                                 I.R.C. §§ 501(c)(3)–(6) Tax-Exempt
                                     Status Received by the IRS

                         Fiscal                     I.R.C. Subsection
                         Year       501(c)(3)      501(c)(4) 501(c)(5)         501(c)(6)
                         2009         65,179         1,751          543           1,828
                         2010         59,486         1,735          290           1,637
                         2011         58,712         2,265          409           1,836
                         2012         66,543         3,357         1,081          2,338
                       Source: These data were provided by the EO function as
                       background and were not validated for accuracy or reliability.

During the 2012 election cycle, some members of Congress raised concerns to the IRS about
selective enforcement and the duty to treat similarly situated organizations consistently. In
addition, several organizations applying for
I.R.C. § 501(c)(4) tax-exempt status made allegations that
the IRS 1) targeted specific groups applying for tax-exempt             This audit focused on
status, 2) delayed the processing of targeted groups’             allegations  that the IRS targeted
                                                                    specific groups applying for
applications for tax-exempt status, and 3) requested
                                                                   tax-exempt status, delayed the
unnecessary information from targeted organizations.               processing of targeted groups’
Lastly, several members of Congress requested that the IRS           applications, and requested
investigate whether existing social welfare organizations          unnecessary    information from
are improperly engaged in a substantial, or even                       targeted  organizations.
predominant, amount of campaign activity.
We initiated this audit based on concerns expressed by Congress and reported in the media
regarding the IRS’s treatment of organizations applying for tax-exempt status. We focused our

10
   The Center for Responsive Politics obtained its information from the Federal Election Commission. We only
included expenditures reported to the Federal Election Commission specifically for advocating the election or defeat
of clearly identified Federal candidates.
11
   Some of this increase may be due to the reapplication of those organizations whose tax-exempt status was revoked
as a result of not filing information returns for three consecutive years.
                                                                                                            Page 3


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                                     Inappropriate Criteria Were Used to
                                 Identify Tax-Exempt Applications for Review



efforts on reviewing the processing of applications for tax-exempt status and determining
whether allegations made against the IRS were founded.12 Tax-exempt application case files
were selected for review in June 2012 and were reviewed as provided by the EO function
between July and November 2012. We did not review whether specific applications for
tax-exempt status should be approved or denied.
This review was performed at the EO function Headquarters office in Washington, D.C., and the
Determinations Unit in Cincinnati, Ohio, during the period June 2012 through February 2013.
We conducted this performance audit in accordance with generally accepted government
auditing standards. Those standards require that we plan and perform the audit to obtain
sufficient, appropriate evidence to provide a reasonable basis for our findings and conclusions
based on our audit objective. We believe that the evidence obtained provides a reasonable basis
for our findings and conclusions based on our audit objective. Detailed information on our audit
objective, scope, and methodology is presented in Appendix I. Major contributors to the report
are listed in Appendix II.




12
  A future audit is being considered to assess how the EO function monitors I.R.C. §§ 501(c)(4)–(6) organizations
to ensure that political campaign intervention does not constitute their primary activity.
                                                                                                           Page 4


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                                      Inappropriate Criteria Were Used to
                                  Identify Tax-Exempt Applications for Review




                                       Results of Review

The Determinations Unit Used Inappropriate Criteria to Identify
Potential Political Cases
The Determinations Unit developed and used inappropriate criteria to identify applications from
organizations with the words Tea Party in their names. These applications (hereafter referred to
as potential political cases)13 were forwarded to a team of specialists14 for review. Subsequently,
the Determinations Unit expanded the criteria to inappropriately include organizations with other
specific names (Patriots and 9/12) or policy positions. While the criteria used by the
Determinations Unit specified particular organization names, the team of specialists was also
processing applications from groups with names other than those identified in the criteria. The
inappropriate and changing criteria may have led to inconsistent treatment of organizations
applying for tax-exempt status. For example, we identified some organizations’ applications
with evidence of significant political campaign intervention that were not forwarded to the team
of specialists for processing but should have been. We also identified applications that were
forwarded to the team of specialists but did not have indications of significant political campaign
intervention. All applications that were forwarded to the team of specialists experienced
substantial delays in processing. Although the IRS has taken some action, it will need to do
more so that the public has reasonable assurance that applications are processed without
unreasonable delay in a fair and impartial manner in the future.

Criteria for selecting applications inappropriately identified organizations based
on their names and policy positions
The Determinations Unit developed and began using criteria to identify potential political cases
for review that inappropriately identified specific groups applying for tax-exempt status based on
their names or policy positions instead of developing criteria based on tax-exempt laws and
Treasury Regulations.
**********************************1*****************************************
**********************************1*******************************************
*1***. According to media reports, some organizations were classified as I.R.C. § 501(c)(4)
social welfare organizations but operated like political organizations. ********1**********

13
   Until July 2011, the Rulings and Agreements office referred to these cases as Tea Party cases. Afterwards, the
EO function referred to these cases as advocacy cases.
14
   Initially, the team consisted of one specialist, but it was expanded to several specialists in December 2011. The
EO function referred to this team as the advocacy team.
                                                                                                              Page 5


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                                     Inappropriate Criteria Were Used to
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*********************************1**************************************. Soon
thereafter, according to the IRS, a Determinations Unit specialist was asked to search for
applications with Tea Party, Patriots, or 9/12 in the organization’s name as well as other
“political-sounding” names. EO function officials stated that, in May 2010, the Determinations
Unit began developing a spreadsheet that would become known as the “Be On the Look Out”
listing (hereafter referred to as the BOLO listing),15 which included the emerging issue of Tea
Party applications. In June 2010, the Determinations Unit began training its specialists on issues
to be aware of, including Tea Party cases. By July 2010, Determinations Unit management
stated that it had requested its specialists to be on the lookout for Tea Party applications.
In August 2010, the Determinations Unit distributed the first formal BOLO listing. The criteria
in the BOLO listing were Tea Party organizations applying for I.R.C. § 501(c)(3) or
I.R.C. § 501(c)(4) status. Based on our review of other BOLO listing criteria, the use of
organization names on the BOLO listing is not unique to potential political cases.16 EO function
officials stated that Determinations Unit specialists interpreted the general criteria in the
BOLO listing and developed expanded criteria for identifying potential political cases.17
Figure 3 shows that, by June 2011, the expanded criteria included additional names (Patriots and
9/12 Project) as well as policy positions espoused by organizations in their applications.
                 Figure 3: Criteria for Potential Political Cases (June 2011)
                     “Tea Party,” “Patriots” or “9/12 Project” is referenced in the case file
                         Issues include government spending, government debt or taxes
          Education of the public by advocacy/lobbying to “make America a better place to live”
                         Statement in the case file criticize how the country is being run
     Source: EO function briefing dated June 2011.

The mission of the IRS is to provide America’s taxpayers top quality service by helping them
understand and meet their tax responsibilities and by applying the tax law with integrity and
fairness to all. According to IRS Policy Statement 1-1, IRS employees accomplish this mission
by being impartial and handling tax matters in a manner that will promote public confidence.
However, the criteria developed by the Determinations Unit gives the appearance that the IRS is
not impartial in conducting its mission. The criteria focused narrowly on the names and policy


15
   The BOLO listing includes a consolidated list of emerging issues the EO function identifies for dissemination to
Determinations Unit specialists.
16
   We did not review the use of other named organizations on the BOLO listing to determine if their use was
appropriate.
17
   During interviews with Determinations Unit specialists and managers, we could not specifically determine who
had been involved in creating the criteria. EO function officials later clarified that the expanded criteria were a
compilation of various Determinations Unit specialists’ responses on how they were identifying Tea Party cases.
                                                                                                             Page 6


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                                Inappropriate Criteria Were Used to
                            Identify Tax-Exempt Applications for Review



positions of organizations instead of tax-exempt laws and Treasury Regulations. Criteria for
selecting applications for the team of specialists should focus on the activities of the
organizations and whether they fulfill the requirements of the law. Using the names or policy
positions of organizations is not an appropriate basis for identifying applications for review by
the team of specialists.
We asked the Acting Commissioner, Tax Exempt and Government Entities Division; the
Director, EO; and Determinations Unit personnel if the criteria were influenced by any
individual or organization outside the IRS. All of these officials stated that the criteria were not
influenced by any individual or organization outside the IRS. Instead, the Determinations Unit
developed and implemented inappropriate criteria in part due to insufficient oversight provided
by management. Specifically, only first-line management approved references to the Tea Party
in the BOLO listing criteria before it was implemented. As a result, inappropriate criteria
remained in place for more than 18 months. Determinations Unit employees also did not
consider the public perception of using politically sensitive criteria when identifying these cases.
Lastly, the criteria developed showed a lack of knowledge in the Determinations Unit of what
activities are allowed by I.R.C. § 501(c)(3) and I.R.C. § 501(c)(4) organizations.
Determinations Unit employees stated that they considered the Tea Party criterion as a shorthand
term for all potential political cases. Whether the inappropriate criterion was shorthand for all
potential political cases or not, developing and using criteria that focuses on organization names
and policy positions instead of the activities permitted under the Treasury Regulations does not
promote public confidence that tax-exempt laws are being adhered to impartially. In addition,
the applications for those organizations that were identified for processing by the team of
specialists experienced significant delays and requests for unnecessary information that is
detailed later in this report.
After being briefed on the expanded criteria in June 2011, the Director, EO, immediately
directed that the criteria be changed. In July 2011, the criteria were changed to focus on the
potential “political, lobbying, or [general] advocacy” activities of the organization. These
criteria were an improvement over using organization names and policy positions. However, the
team of specialists subsequently changed the criteria in January 2012 without executive approval
because they believed the July 2011 criteria were too broad. The January 2012 criteria again
focused on the policy positions of organizations instead of tax-exempt laws and Treasury
Regulations. After three months, the Director, Rulings and Agreements, learned the criteria had
been changed by the team of specialists and subsequently revised the criteria again in May 2012.
(See Appendix VI for a complete timeline of criteria used to identify potential political cases).
The May 2012 criteria more clearly focus on activities permitted under the Treasury Regulations.
As a result of changes made to the criteria without management knowledge, the Director,
Rulings and Agreements, issued a memorandum requiring all original entries and changes to
criteria included on the BOLO listing be approved at the executive level prior to implementation.


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                                     Inappropriate Criteria Were Used to
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The team of specialists processed applications by organizations with names
other than Tea Party, Patriots, and 9/12
To determine if organizations other than those specifically identified in the inappropriate criteria
were processed by the team of specialists, we reviewed the names on all applications identified
as potential political cases.18 Figure 4 shows that approximately one-third of the applications
identified for processing by the team of specialists included Tea Party, Patriots, or 9/12 in their
names, while the remainder did not. According to the Director, Rulings and Agreements, the
fact that the team of specialists worked applications that did not involve the Tea Party, Patriots,
or 9/12 groups demonstrated that the IRS was not politically biased in its identification of
applications for processing by the team of specialists.
       Figure 4: Breakdown of Potential Political Cases by Organization Name




                                                        72                               Tea Party
                                                                                         9/12
                                                             11
                                                             13                          Patriots
                                      202                                                Other




              Source: EO function Potential Political Case Tracking Sheet as of May 31, 2012.

While the team of specialists reviewed applications from a variety of organizations, we
determined during our reviews of statistical samples of I.R.C. § 501(c)(4) tax-exempt
applications that all cases with Tea Party, Patriots, or 9/12 in their names were forwarded to the
team of specialists.19



18
   We could not determine which potential political cases may have been identified based on an organization’s
policy positions.
19
   We determined this through two statistical samples of 338 (7.5 percent) from a universe of 4,510 I.R.C. § 501(c)(4)
tax-exempt applications filed during May 2010 through May 2012 that were not forwarded to the team of specialists.
See Appendix I for details on our sampling methodology.
                                                                                                             Page 8


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                                     Inappropriate Criteria Were Used to
                                 Identify Tax-Exempt Applications for Review



Some applications with indications of significant political campaign intervention
were not identified for review by the team of specialists
In May 2012, the Director, Rulings and Agreements, approved the current criteria for identifying
potential political cases. The criteria are “501(c)(3), 501(c)(4), 501(c)(5), and 501(c)(6)
organizations with indicators of significant amounts of political campaign intervention….” To
determine if all cases with indications of significant political campaign intervention were sent to
the team of specialists, we reviewed two statistical samples of I.R.C. § 501(c)(4) applications.
        Applications That the IRS Determined Required Minimal or No Additional
         Information for Processing – We reviewed a statistical sample of 94 I.R.C. § 501(c)(4)
         cases closed from May 201020 through May 2012 from a universe of 2,051 applications
         that the IRS determined required minimal or no additional information from the
         organizations (also referred to by the EO function as merit closures). We determined that
         two (2 percent) of 94 approved applications had indications of significant political
         campaign intervention and should have been forwarded to the team of specialists.21
         Based on our statistical sample, we project an estimated 44 merit closure applications
         were not appropriately identified as potential political cases during this time period.22
        Applications Identified by the IRS That Required Additional Information for
         Processing – We reviewed a statistical sample of 244 I.R.C. § 501(c)(4) cases closed
         from May 2010 through May 2012 or open as of May 31, 2012, from a universe of
         2,459 applications that the IRS determined required additional information from the
         organizations applying for tax-exempt status (also referred to by the EO function as full
         development applications) but were not forwarded to the team of specialists. For the
         applications that were available for our review, we found that 14 (6 percent)23 of
         237 applications24 included indications of significant political campaign intervention and
         should have been processed by the team of specialists.25 We project an estimated 141 full
         development applications were not appropriately identified as potential political cases
         during this time period.26




20
   May 2010 was chosen because it is the first date that we were informed that the Determinations Unit was using
criteria which identified specific organizations by name.
21
   Neither of the two cases involved a Tea Party, Patriots, or 9/12 organization.
22
   See Appendix IV.
23
   None of the 14 cases involved a Tea Party, Patriots, or 9/12 organization.
24
   We could not analyze seven sampled application case files because of incomplete documentation in the case files
(six applications) or the case file could not be located (one application). See Appendix IV.
25
   We determined that eight applications were appropriately forwarded to the team of specialists. Five of the
eight application case files involved Tea Party, Patriots, or 9/12 organizations.
26
   See Appendix IV.
                                                                                                           Page 9


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     To determine if cases without indications of significant political campaign intervention were
     sent to the team of specialists, we reviewed all of the applications identified as potential
     political cases as of May 31, 2012.
        Applications That the IRS Determined Should Be Processed by the Team of
         Specialists – We reviewed all 298 applications that had been identified as potential
         political cases as of May 31, 2012. In the majority of cases, we agreed that the
         applications submitted included indications of significant political campaign intervention.
         However, we did not identify any indications of significant political campaign
         intervention for 91 (31 percent) of the 296 applications27 that had complete
         documentation.28
         We discussed our results with EO function officials, who disagreed with our findings.
         Although EO function officials provided explanations about why the applications should
         have been identified as potential political cases, the case files did not include the specific
         reason(s) the applications were selected. EO function officials also stated that
         applications may not literally include statements indicating significant political campaign
         intervention.29 According to EO function officials, organizations may not understand
         what constitutes political campaign intervention or may provide vague descriptions of
         certain activities that the EO function knows from past experience potentially involve
         political campaign intervention. In these cases, the EO function believes it is important
         to review the applications to ensure that political campaign intervention is not the
         organizations’ primary activity. To provide further assurance that Determinations Unit
         employees are handling tax matters in an impartial manner, it would be helpful to
         document specifically why applications are chosen for further review.

Recommendations
The Director, EO, should:
Recommendation 1: Ensure that the memorandum requiring the Director, Rulings and
Agreements, to approve all original entries and changes to criteria included on the BOLO listing
prior to implementation be formalized in the appropriate Internal Revenue Manual.
         Management’s Response: The IRS agreed with this recommendation and will
         ensure that the procedures set forth in the memorandum requiring the Director,


27
   We could not complete our review of two cases due to inadequate documentation in the case files. See
Appendix IV.
28
   Seventeen (19 percent) of the 91 applications involved Tea Party, Patriots, or 9/12 organizations.
29
   It should also be noted that, in some cases, specialists obtained additional information after the application was
received that indicated the organizations were involved in political campaign intervention which was not available in
the initial application documentation we reviewed.
                                                                                                           Page 10


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       Rulings and Agreements, to approve in advance all original entries and changes to the
       BOLO listing are made part of the Internal Revenue Manual.
Recommendation 2: Develop procedures to better document the reason(s) applications are
chosen for review by the team of specialists (e.g., evidence of specific political campaign
intervention in the application file or specific reasons the EO function may have for choosing to
review the application further based on past experience).
       Management’s Response: The IRS proposed an alternative corrective action to
       our recommendation. The IRS stated it will review its screening procedures to
       determine whether, and to what extent, additional documentation can be implemented
       without having an adverse impact on the timeliness of case processing.
       Office of Audit Comment: We do not believe this alternative corrective action fully
       addresses the recommendation. Developing procedures to better document the reasons
       applications are chosen for further review would help ensure that applications are being
       handled in an impartial manner. In addition, as detailed in the next section of this report,
       the average time these applications have been open is 574 days as of December 17, 2012.
       We do not believe documenting a brief explanation about why applications are chosen for
       review would have an adverse impact on the timeliness of case processing.
Recommendation 3: Develop training or workshops to be held before each election cycle
including, but not limited to, the proper ways to identify applications that require review of
political campaign intervention activities.
       Management’s Response: The IRS agreed with this recommendation and will
       develop training on the topics described in Recommendations 3, 5, 6, and 9. Because
       election cycles are continuous, the IRS will develop a schedule which ensures that
       staff have the training as needed to handle potential political intervention matters.

Potential Political Cases Experienced Significant Processing Delays
Organizations that applied for tax-exempt status and had their applications forwarded to the team
of specialists experienced substantial delays. As of December 17, 2012, many organizations had
not received an approval or denial letter for more than two years after they submitted their
applications. Some cases have been open during two election cycles (2010 and 2012). The
IRS Strategic Plan 2009–2013 has several goals and objectives that involve timely interacting
with taxpayers, including enforcement of the tax law in a timely manner while minimizing
taxpayer burden. The EO function does not have specific timeliness goals for processing
applications, such as potential political cases, that require significant follow-up with the




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organizations.30 The time it takes to process an application depends upon the facts and
circumstances of the case.
Potential political cases took significantly longer than average to process due to ineffective
management oversight. Once cases were initially identified for processing by the team of
specialists, the Determinations Unit Program Manager requested assistance via e-mail from the
Technical Unit to ensure consistency in processing the cases. However, EO function
management did not ensure that there was a formal process in place for initiating, tracking, or
monitoring requests for assistance. In addition, there were several changes in Rulings and
Agreements management responsible for overseeing the fulfillment of requests for assistance
from the Determinations Unit during this time period. This contributed to the lengthy delays in
processing potential political cases. As a result, the Determinations Unit waited more than
20 months (February 2010 to November 2011) to receive draft written guidance from the
Technical Unit for processing potential political cases.
As a result, the IRS delayed the issuance of letters to organizations approving their tax-exempt
status. For I.R.C. § 501(c)(3) organizations, this means that potential donors and grantors could
be reluctant to provide donations or grants.31 In addition, some organizations withdrew their
applications and others may not have begun conducting planned charitable or social welfare
work. The delays may have also prevented some organizations from receiving certain benefits of
the tax-exempt status. For example, if organizations are approved for tax-exempt status, they
may receive exemption from certain State taxes and reduced postal rates. For organizations that
may eventually be denied tax-exempt status but have been operating while their applications are
pending, the organizations will be required to retroactively file income tax returns and may be
liable to pay income taxes for, in some cases, more than two years.
To analyze the delays, we: 1) reviewed the events that led to delays in processing potential
political cases, 2) compared the amount of time cases assigned to the team of specialists were
open to applications that were not assigned to the team of specialists, and 3) determined if
organizations were eligible to sue the IRS due to delays in processing certain applications.

Potential political cases experienced long processing delays
The team of specialists stopped working on potential political cases from October 2010 through
November 2011, resulting in a 13-month delay, while they waited for assistance from the
Technical Unit. Figure 5 illustrates significant events and delays concerning potential political
cases. For a comprehensive timeline of events related to potential political cases, see
Appendix VII.



30
   The EO function, however, had an overall goal to process merit and full development tax-exempt applications in
121 days for Fiscal Year 2012.
31
   Of 298 cases reviewed, 89 were I.R.C. § 501(c)(3) organizations.
                                                                                                         Page 12


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         Figure 5: Timeline of Events and Delays Involving the Processing
            of Potential Political Cases (*****1******* Through May 2012)

         Date            Events and Delays
     ******1******       *****************************1*******************************
                         *******************1**********.
       April 2010        The team of specialists is formed with one specialist who is assigned potential
                         political cases and begins working on them with the assistance of a Technical Unit
                         employee.
      October 2010       The team of specialists stops processing potential political cases while waiting for
                         assistance from the Technical Unit.
        July 2011        The EO function decides to develop written guidance for the Determinations Unit
                         to process the potential political cases.
     November 2011       Draft written guidance is provided to the Determinations Unit.
     December 2011       Additional specialists are added to the team of specialists.
      January 2012       Specialists begin issuing additional information request letters to organizations
                         applying for tax-exempt status, requesting that the information be provided in
                         two to three weeks. These time periods are standard response times given for any
                         information request and are included in the Internal Revenue Manual.
     February 2012       Concerns are raised in the media regarding requests for significant amounts of
                         information from organizations applying for tax-exempt status. The Director, EO,
                         stops specialists from issuing any more letters requesting information. Instead,
                         letters allowing extensions of 60 days to respond to previous additional information
                         letters were developed and issued in March and April 2012. These letters also noted
                         that applicants should contact the IRS if they needed longer than 60 days to respond.

       May 2012          A workshop is given to Determinations Unit specialists assigned to potential
                         political cases. Afterwards, a review of all the open cases is completed to
                         recommend whether additional processing is necessary or whether the cases can
                         be closed (as of December 17, 2012, 160 applications were still being processed).
   Source: Interviews of EO function employees and our review of EO function e-mails.

Ineffective oversight by management led to significant delays in processing potential political
cases. ***************************************1*****************************
**********1*******************************. In April 2010, the Determinations Unit
Program Manager requested via e-mail a contact in the Technical Unit to provide assistance with
processing the applications. A Technical Unit specialist was assigned this task and began
working with the team of specialists. The team of specialists stopped processing cases in
October 2010 without closing any of the 40 cases that were begun. However, the Determinations
Unit Program Manager thought the cases were being processed. Later, we were informed by the
Director, Rulings and Agreements, that there was a miscommunication about processing the
cases. The Determinations Unit waited for assistance from the Technical Unit instead of
                                                                                                          Page 13


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continuing to process the cases. The Determinations Unit Program Manager requested status
updates on the request for assistance several times via e-mail. Draft written guidance was not
received from the Technical Unit until November 2011, 13 months after the Determinations Unit
stopped processing the cases. As of the end of our audit work in February 2013, the guidance
had not been finalized because the EO function decided to provide training instead.32
Many organizations waited much longer than 13 months for a decision, while others have yet to
receive a decision from the IRS. For example, as of December 17, 2012, the IRS had been
processing several potential political cases for more than 1,000 calendar days. Some of these
organizations received requests for additional information in Calendar Year 2010 and then did
not hear from the IRS again for more than a year while the Determinations Unit waited for
assistance from the Technical Unit. For the 296 potential political cases we reviewed,33 as of
December 17, 2012, 108 applications had been approved, 28 were withdrawn by the applicant,
none had been denied, and 160 cases were open from 206 to 1,138 calendar days (some crossing
two election cycles).
In March 2012, the Deputy Commissioner, Services and Enforcement, asked the Senior
Technical Advisor to the Acting Commissioner, Tax Exempt and Government Entities Division,
to look into concerns raised by the media about delays in processing applications for tax-exempt
status from Tea Party groups and the nature of the questions being asked related to the
applications. In April 2012, the Senior Technical Advisor to the Acting Commissioner, Tax
Exempt and Government Entities Division, along with a team of EO function Headquarters
office employees, reviewed many of the potential political cases and determined that there
appeared to be some confusion by Determinations Unit specialists and applicants on what
activities are allowed by I.R.C. § 501(c)(4) organizations. We believe this could be due to the
lack of specific guidance on how to determine the “primary activity” of an I.R.C. § 501(c)(4)
organization. Treasury Regulations state that I.R.C. § 501(c)(4) organizations should have social
welfare as their “primary activity”; however, the regulations do not define how to measure
whether social welfare is an organization’s “primary activity.”
As a result of this confusion, the EO function Headquarters employees provided a two-day
workshop to the team of specialists in May 2012 to train them on what activities are allowable by
I.R.C. § 501(c)(4) organizations, including lobbying and political campaign intervention. After
this workshop, potential political cases were independently reviewed by two people to determine
what, if any, additional work needed to be completed prior to making a decision to approve or
deny the applications for tax-exempt status. This review continued on any newly identified
potential political cases. Prior to the hands-on training and independent reviews, the team of
specialists had only approved six (2 percent) of 298 applications. After the hands-on training

32
   In response to the National Taxpayer Advocate’s 2007 Annual Report to Congress, the IRS commented that
putting guide sheets for processing applications for tax-exempt status on its Internet site would result in fewer
delays.
33
   *************************************1******************************************.
                                                                                                              Page 14


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and independent reviews began, the Determinations Unit approved an additional 102 applications
by December 2012.34 In addition, it was decided that applications could be approved, but a
referral for follow-up could be sent to another unit,35 which could review the activities of an
organization at a later date to determine if they were consistent with the organization’s
tax-exempt status.

Potential political cases were open much longer than similar cases that were not
identified for processing by the team of specialists
For Fiscal Year 2012, the average time it took the Determinations Unit to complete processing
applications requiring additional information from organizations applying for tax-exempt status
(also referred to by the EO function as full development cases) was 238 calendar days according
to IRS data. In comparison, the average time a potential political case was open as of
December 17, 2012, was 574 calendar days (with 158 potential political cases being open longer
than the average calendar days it took to close other full development cases).36 Figure 6 shows
that more than 80 percent of the potential political cases have been open more than one year.
               Figure 6: Number of Calendar Days Potential Political Cases
                          Were Open (as of December 17, 2012)
                                          Number and Percentage37 of Potential
                                      Political Cases Open by Calendar Day Range
                                                                                         More
                              0–120        121–180        181–270        271–365        Than 365
                  Total      Calendar      Calendar       Calendar       Calendar       Calendar
                  Cases       Days          Days           Days           Days            Days
                                 0              0              3             28            129
                   160
                               (0%)           (0%)           (2%)          (18%)          (81%)
               Source: Our analysis of EO function documentation.




34
   Of the 102 applications, 29 (28 percent) involved Tea Party, Patriots, or 9/12 organizations.
35
   The Review of Operations Unit completes compliance reviews on tax-exempt organizations to determine whether
they are operating in accordance with their tax-exempt purposes and are current with their filing requirements. Unit
personnel review information available on IRS systems, filed returns, applications for tax exemption, and the
Internet to assess the organizations’ operations and make recommendations for further actions.
36
   See Appendix IV.
37
   Percentages may not equal 100 percent due to rounding.
                                                                                                           Page 15


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Some charitable organizations were eligible to sue the IRS for declaratory
judgment due to the delays in processing applications
The Determinations Unit did not always timely approve or deny the applications for
I.R.C. § 501(c)(3) tax-exempt status for potential political cases. However, the tax law provides
organizations with the ability to sue the IRS to force a decision on their applications if the IRS
does not approve or deny their applications within 270 calendar days.38
As of May 31, 2012,39 32 (36 percent) of 89 I.R.C. § 501(c)(3) potential political cases were open
more than 270 calendar days, and the organizations had responded timely to all requests for
additional information, as required. As of the end of our fieldwork, none of these organizations
had sued the IRS, even though they had the legal right. In another 38 open cases, organizations
were timely in their responses to additional information requests, but the 270-calendar-day
threshold had not been reached as of May 31, 2012. These 38 organizations may have the right
to sue the IRS in the future if determinations are not made within the 270-calendar-day period.

Recommendations
The Director, EO, should:
Recommendation 4: Develop a process for the Determinations Unit to formally request
assistance from the Technical Unit and the Guidance Unit.40 The process should include actions
to initiate, track, and monitor requests for assistance to ensure that requests are responded to
timely.
        Management’s Response: The IRS agreed with this recommendation and will
        develop a formal process for the Determination Unit to request assistance and to
        monitor such requests.
Recommendation 5: Develop guidance for specialists on how to process requests for
tax-exempt status involving potentially significant political campaign intervention. This
guidance should also be posted to the Internet to provide transparency to organizations on the
application process.
        Management’s Response: The IRS proposed alternative corrective action to our
        recommendation. The IRS will develop training on the topics described in
        Recommendations 3, 5, 6, and 9. Because election cycles are continuous, the IRS



38
   Revenue Procedure 2012-09 provides further guidance on the implementation of this right.
39
   Tax-exempt application case files were selected for review in June 2012 based on a May 31, 2012, listing of
applications being processed by the team of specialists.
40
   The Guidance Unit provides formal and informal guidance that explains how certain laws, such as regulations,
revenue rulings, revenue procedures, notices, and announcements, may apply to exempt organizations.
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         noted that it will develop a schedule which ensures that staff have the training as
         needed to handle potential political intervention matters.
         Office of Audit Comment: We do not believe that this alternative corrective action
         fully addresses our recommendation. We believe that specific guidance should be
         developed and made available to specialists processing potential political cases. Making
         this guidance available on the Internet for organizations could also address a concern
         raised in the IRS’s response that many applications appear to contain incomplete and
         inconsistent information.
Recommendation 6: Develop training or workshops to be held before each election cycle
including, but not limited to: a) what constitutes political campaign intervention versus general
advocacy (including case examples) and b) the ability to refer for follow-up those organizations
that may conduct activities in a future year which may cause them to lose their tax-exempt status.
         Management’s Response: The IRS agreed with this recommendation and will
         develop training on the topics described in Recommendations 3, 5, 6, and 9. Because
         election cycles are continuous, the IRS reported that it will develop a schedule which
         ensures that staff have the training as needed to handle potential political intervention
         matters.
Recommendation 7: Provide oversight to ensure that potential political cases, some of which
have been in process for three years, are approved or denied expeditiously.
         Management’s Response: The IRS agreed with this recommendation and stated
         that, while this is an ongoing project, it is closely overseeing the remaining open cases
         to ensure that it reaches determinations as expeditiously as possible.
The Acting Commissioner, Tax Exempt and Government Entities Division, should:
Recommendation 8: Recommend to IRS Chief Counsel and the Department of the Treasury
that guidance on how to measure the “primary activity” of I.R.C. § 501(c)(4) social welfare
organizations be included for consideration in the Department of the Treasury Priority Guidance
Plan.41
         Management’s Response: The IRS agreed with this recommendation and will
         share this recommendation with the IRS Chief Counsel and the Department of
         Treasury’s Office of Tax Policy.




41
  The Department of the Treasury issues a Priority Guidance Plan each year to identify and prioritize the tax issues
that should be addressed through regulations, revenue rulings, revenue procedures, notices, and other published
administrative guidance.
                                                                                                            Page 17


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The Determinations Unit Requested Unnecessary Information for
Many Potential Political Cases
The Determinations Unit sent requests for information that we later (in whole or in part)
determined to be unnecessary for 98 (58 percent) of 170 organizations that received additional
information request letters.42 According to the Internal Revenue Manual, these requests should
be thorough, complete, and relevant. However, the Determinations Unit requested irrelevant
(unnecessary) information because of a lack of managerial review, at all levels, of questions
before they were sent to organizations seeking tax-exempt status. We also believe that
Determinations Unit specialists lacked knowledge of what activities are allowed by
I.R.C. § 501(c)(3) and I.R.C. § 501(c)(4) tax-exempt organizations. This created burden on the
organizations that were required to gather and forward information that was not needed by the
Determinations Unit and led to delays in processing the applications. These delays could result
in potential donors and grantors being reluctant to provide donations or grants to organizations
applying for I.R.C. § 501(c)(3) tax-exempt status. In addition, some organizations may not have
begun conducting planned charitable or social welfare work.
After receiving draft guidance in November 2011, the team of specialists began sending requests
for additional information in January 2012 to organizations that were applying for tax-exempt
status. For some organizations, this was the second letter received from the IRS requesting
additional information, the first of which had been received more than a year before this date.
These letters requested that the information be provided in two or three weeks (as is customary in
these letters) despite the fact that the IRS had done nothing with some of the applications for
more than one year. After the letters were received, organizations seeking tax-exempt status, as
well as members of Congress, expressed concerns about the type and extent of questions being
asked. For example, the Determinations Unit requested donor information from
27 organizations43 that it would be required to make public if the application was approved, even
though this information could not be disclosed by the IRS when provided by organizations
whose tax-exempt status had been approved. Figure 7 shows an example of requests sent to
organizations applying for tax-exempt status regarding donors.




42
     See Appendix IV.
43
     Of the 27 organizations, 13 had Tea Party, Patriots, or 9/12 in their names.
                                                                                              Page 18


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             Figure 7: Example of Requests for Information Regarding
          Past and Future Donors in Letters Sent in January/February 2012

     Provide the following information for the income you received and raised for the years from
     inception to the present. Also, provide the same information for the income you expect to
     receive and raise for 2012, 2013, and 2014.
         a. Donations, contributions, and grant income for each year, which includes the following
            information:
             1. The names of the donors, contributors, and grantors. If the donor, contributor, or
                grantor has run or will run for a public office, identify the office. If not, please
                confirm by answering this question “No.”
             2. The amounts of each of the donations, contributions, and grants and the dates you
                received them.
             3. How did you use these donations, contributions, and grants? Provide the details.

     If you did not receive or do not expect to receive any donation, contribution, and grant income,
     please confirm by answering “None received” and/or “None expected.”
   Source: Application case files.

After media attention, the Director, EO, stopped issuance of additional information request
letters and provided an extension of time to respond to previously issued letters. The Deputy
Commissioner for Services and Enforcement then asked the Senior Technical Advisor to the
Acting Commissioner, Tax Exempt and Government Entities Division, to find out how
applications were being processed and make recommendations. The Senior Technical Advisor
and a team of specialists visited the Determinations Unit in Cincinnati, Ohio, and began
reviewing cases. As part of this effort, EO function Headquarters office employees reviewed the
additional information request letters prepared by the team of specialists and identified
seven questions that they deemed unnecessary. Subsequently, the EO function instituted the
practice that all additional information request letters for potential political cases be reviewed by
the EO function Headquarters office before they are sent to organizations seeking tax-exempt
status. In addition, EO function officials informed us that they decided to destroy all donor lists
that were sent in for potential political cases that the IRS determined it should not have
requested. Figure 8 lists the seven questions identified as being unnecessary.




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    Figure 8: Seven Questions Identified As Unnecessary by the EO Function

    Number Question
        1       Requests the names of donors.
        2       Requests a list of all issues that are important to the organization and asks that
                the organization indicate its position regarding such issues.
        3       Requests 1) the roles and activities of the audience and participants other than
                members in the activity and 2) the type of conversations and discussions
                members and participants had during the activity.
        4       Asks whether the officer, director, etc., has run or will run for public office.
        5       Requests the political affiliation of the officer, director, speakers, candidates
                supported, etc., or otherwise refers to the relationship with identified
                political party–related organizations.
        6       Requests information regarding employment, other than for the organization,
                including hours worked.
        7       Requests information regarding activities of another organization – not just
                the relationship of the other organization to the applicant.
  Source: EO function review of additional information request letters.

We reviewed case file information for all 170 organizations that received additional information
request letters and determined that 98 (58 percent) had received requests for information that was
later deemed unnecessary by the EO function. Of the 98 organizations:
      15 were informed that they did not need to respond to previous requests for information
       and, instead, received a revised request for information.
      12 either received a letter or a telephone call stating that their application was approved
       and they no longer needed to respond to information requests they had received from the
       IRS.




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Figure 9 shows excerpts from the approval letter developed for organizations that did not need to
respond to a previous additional information request letter.
Figure 9: Excerpts From a Template Approval Letter, Which Includes a Statement
          That Previously Requested Information Is No Longer Needed
         Dear Applicant:
         We are pleased to inform you that upon review of your application for tax-
         exempt status we have determined that you are exempt from Federal income tax
         under section 501 (c) (4) of the Internal Revenue Code. Because this letter
         could help resolve any questions regarding your exempt status, you should
         keep it in your permanent records.



         Please not that we have just completed another review of your request to be
         recognized as tax-exempt under section 501 (c) (4) of the Internal Revenue
         Codes. Based on that review, we concluded that we do not need the additional
         materials previously requested because your application and materials provide
         sufficient information.

       Source: IRS template approval letter.

Recommendation
Recommendation 9: The Director, EO, should develop training or workshops to be held
before each election cycle including, but not limited to, how to word questions in additional
information request letters and what additional information should be requested.
       Management’s Response: The IRS agreed with this recommendation and will
       develop training on the topics described in Recommendations 3, 5, 6, and 9. Because
       election cycles are continuous, the IRS reported that it will develop a schedule which
       ensures that staff have the training as needed to handle potential political intervention
       matters.




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                                                                                  Appendix I

        Detailed Objective, Scope, and Methodology

The overall objective was to determine whether allegations were founded that the IRS:
1) targeted specific groups applying for tax-exempt status, 2) delayed processing targeted
groups’ applications for tax-exempt status, and 3) requested unnecessary information from
targeted groups. To accomplish our objective, we:
I.     Assessed the actions taken by the EO function in response to the increase in applications
       for tax-exempt status from organizations potentially involved in political campaign
       intervention.
       A. Interviewed EO function management to identify steps taken and who authorized
          them. We also developed a timeline of events.
       B. Obtained a list of applications that were identified for processing by the team of
          specialists and determined the status of the identified cases (open, approved, denied,
          etc.) through May 31, 2012. We also received an updated list of identified cases
          through December 17, 2012, to determine the status of each initial case as of this date.
       C. Determined whether procedures and controls in place since May 2010 resulted in
          inconsistent treatment of applications potentially involving political campaign
          intervention.
II.    Determined whether changes to procedures and controls since May 2010 affected the
       timeliness of reviewing applications potentially involving political campaign
       intervention.
       A. Interviewed EO function personnel to determine whether there were any outside
          influences that affected the timeliness of reviewing potential political cases.
       B. Reviewed all 89 I.R.C. § 501(c)(3) potential political cases to determine whether they
          were processed within the 270-day standard required by law.
III.   Determined whether the actions taken by the EO function to identify applications for
       tax-exempt status of organizations potentially involved in political campaign intervention
       were consistent.
       A. Selected a statistical sample of 244 open and closed I.R.C. § 501(c)(4) application
          cases from a universe of 2,459 cases that the IRS determined needed significant
          additional information (full development) on the Employee Plans/Exempt
          Organizations Determination System from May 2010 through May 2012 to determine
          whether they should have been identified for processing by the team of specialists.
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             We selected our statistical sample using the following criteria: 90 percent confidence
             level, 50 percent error rate,1 and ± 5 percent precision rate. We used a random sample
             to ensure that each application case had an equal chance of being selected, which
             enabled us to obtain sufficient evidence to support our results. A contracted
             statistician reviewed our projections.
             1. Obtained the universe of 2,459 cases from the Employee Plans/Exempt
                Organizations Determination System and performed validity checks to ensure that
                the data were accurate. We found the data could be relied on for this review.
             2. Obtained a statistical sample of open and closed application cases.
             3. Determined whether application cases with potential political campaign
                intervention issues were identified for processing by the team of specialists.
             4. Interviewed EO function personnel to obtain their perspective on any application
                cases we identified that should have been identified for processing by the team of
                specialists but were not.
        B. Selected a statistical sample of 94 closed I.R.C. § 501(c)(4) application cases from a
           universe of 2,051 cases that the IRS determined did not need significant additional
           information (merit cases) on the Employee Plans/Exempt Organizations
           Determination System from May 2010 through May 2012 to determine whether they
           should have been identified for processing by the team of specialists. We selected
           our statistical sample using the following criteria: 90 percent confidence level,
           10 percent error rate,2 and ± 5 percent precision rate. We used a random sample to
           ensure that each application case had an equal chance of being selected, which
           enabled us to obtain sufficient evidence to support our results. A contracted
           statistician reviewed our projections.
             1. Obtained the universe of 2,051 cases from the Employee Plans/Exempt
                Organizations Determination System and performed validity checks to ensure that
                the data were accurate. We found the data could be relied on for this review.
             2. Obtained a statistical sample of closed application cases.
             3. Determined whether application cases with potential political campaign
                intervention issues were not identified for processing by the team of specialists.




1
  An expected error rate of 50 percent was chosen because we determined that cases needing significant additional
information had criteria that included the names of specific groups.
2
  An expected error rate of 10 percent was chosen because procedures require that cases with political issues
generally need significant additional information.
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           4. Interviewed EO function personnel to obtain their perspective on any applications
              we identified that should have been identified for processing by the team of
              specialists but were not.
       C. Obtained and reviewed all 298 application cases identified for processing by the team
          of specialists as of May 31, 2012, to determine whether they were correctly identified.
           1. Determined whether application cases were correctly identified for processing by
              the team of specialists.
           2. Interviewed EO function personnel to obtain their perspective on any cases we
              identified that should not have been identified for processing by the team of
              specialists.
       D. Computed the average cycle time of processing potential political cases and
          compared it to the average cycle time for processing similar cases that were not
          processed by the team of specialists.
       E. Determined the number of organizations that may have been adversely affected by
          inconsistent treatment.
IV.    Determined whether the EO function consistently had a reasonable basis for requesting
       information from organizations seeking tax-exempt status that were potentially involved
       in political campaign intervention.
       A. Reviewed all 170 potential political cases that were issued additional information
          request letters to determine whether the letters included questions deemed
          unnecessary by the EO function.
       B. Interviewed EO function personnel to obtain their perspective on additional
          information that was requested that may not have been necessary to help make a
          determination decision.
       C. Determined the number of taxpayers that may have been adversely affected.
Internal controls methodology
Internal controls relate to management’s plans, methods, and procedures used to meet their
mission, goals, and objectives. Internal controls include the processes and procedures for
planning, organizing, directing, and controlling program operations. They include the systems
for measuring, reporting, and monitoring program performance. We determined the following
internal controls were relevant to our audit objective: EO function policies, procedures, and
practices for identifying and processing applications for tax-exempt status with indications of
political campaign intervention. We evaluated these controls by interviewing personnel,
reviewing documentation, reviewing statistical samples of applications for tax-exempt status, and
reviewing applications identified as involving potential political campaign intervention.

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                                                                              Appendix II

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                                                                           Appendix III

                         Report Distribution List

Acting Commissioner C
Office of the Commissioner – Attn: Chief of Staff C
Chief Counsel CC
Deputy Commissioner for Services and Enforcement SE
National Taxpayer Advocate TA
Acting Deputy Commissioner, Tax Exempt and Government Entities Division SE:T
Director, Exempt Organizations, Tax Exempt and Government Entities Division SE:T:EO
Director, Office of Legislative Affairs CL:LA
Director, Office of Program Evaluation and Risk Analysis RAS:O
Office of Internal Control OS:CFO:CPIC:IC
Audit Liaison: Director, Communications and Liaison, Tax Exempt and Government Entities
Division SE:T:CL




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                                                                                                Appendix IV

                                     Outcome Measures

This appendix presents detailed information on the measurable impact that our recommended
corrective actions will have on tax administration. These benefits will be incorporated into our
Semiannual Report to Congress.

Type and Value of Outcome Measure:
   Reliability of Information – Actual; nine application case files that were either incomplete or
    could not be located for us to review (see page 5).

Methodology Used to Measure the Reported Benefit:
During our review of applications for tax-exempt status that were not identified for the team of
specialists, we were unable to review seven case files because the case file lacked complete
documentation (six cases) or the case file could not be located (one case). In addition, during our
review of all identified potential political cases through May 31, 2012, we were unable to
analyze two case files because of incomplete documentation.

Type and Value of Outcome Measure:
   Reliability of Information – Potential; 44 organizations whose tax-exempt applications were
    not appropriately identified as having significant potential political campaign intervention
    (see page 5).

Methodology Used to Measure the Reported Benefit:
We selected a simple random sample of 94 I.R.C. § 501(c)(4) cases closed from May 2010
through May 2012 from a universe of 2,051 applications that the IRS determined required
minimal or no additional information from organizations applying for tax-exempt status. During
our case reviews, we determined that two cases were not appropriately identified as having
significant potential political campaign intervention. We projected, with 90 percent confidence,
an actual error rate of between 0.38 percent and 6.55 percent1 and that between eight and
134 applications2 were not properly identified for processing by the team of specialists.


1
  The point estimate error rate for the sample is 2.13 percent. The 90 percent confidence interval was calculated
using the Exact Binomial Method.
2
  The point estimate number of error applications is 44. The 90 percent confidence interval was calculated using the
Exact Binomial Method.
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Type and Value of Outcome Measure:
   Reliability of Information – Potential; 141 organizations whose tax-exempt applications were
    not appropriately identified as having significant potential political campaign intervention
    (see page 5).

Methodology Used to Measure the Reported Benefit:
We selected a simple random sample of 244 I.R.C. § 501(c)(4) cases closed from May 2010
through May 2012 or open as of May 31, 2012, from a universe of 2,459 applications that the
IRS determined required additional information from organizations applying for tax-exempt
status.3 During our case reviews, we determined that 14 cases were not appropriately identified
as having significant potential political campaign intervention. We projected, with 90 percent
confidence, an actual error rate of between 3.38 percent and 8.43 percent4 and that between
84 and 198 applications5 were not properly identified for processing by the team of specialists.

Type and Value of Outcome Measure:
   Taxpayer Burden – Potential; 158 organizations that waited longer than average for the IRS
    to make a decision regarding their tax-exempt status (see page 11).

Methodology Used to Measure the Reported Benefit:
We obtained data from the EO function on the average number of days it took to determine
whether an application for tax-exempt status was approved or denied. In Fiscal Year 2012, it
took on average 238 days to close a case that needed additional information from the
organization prior to approving or denying the application. As of December 17, 2012, there were
158 potential political cases that were open more than 238 calendar days.

Type and Value of Outcome Measure:
   Taxpayer Burden – Potential; 98 organizations that received additional information request
    letters with questions that were later deemed unnecessary by the EO function (see page 18).

Methodology Used to Measure the Reported Benefit:
We reviewed 170 potential political cases that had received additional information request letters
from the Determinations Unit. Using a list of seven questions/topics that the EO function
categorized as unnecessary, we identified 98 potential political cases that included additional
information request letters asking questions deemed unnecessary by the EO function.

3
  We found that seven cases from the sample of 244 were not reviewable because of incomplete documentation.
4
  The point estimate error rate for the sample is 5.91 percent with a precision of ± 2.52 percent.
5
  The point estimate number of error applications is 141 with a precision of ± 57 applications.
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                                                                                    Appendix V

                   High-Level Organizational Chart
                of Offices Referenced in This Report

The following is a high-level organizational chart of offices we discuss in this report, starting
with the Deputy Commissioner for Services and Enforcement, who reports to the IRS
Commissioner.


                                     Deputy Commissioner for
                                     Services and Enforcement
                                            Washington, DC


                                    Acting Commissioner, Tax
    Senior Technical
                                    Exempt and Government
        Advisor
      Washington, DC                     Entities Division
                                           Washington, DC


                                            Director, EO                  Senior Technical
                                            Washington, DC                    Advisor
                                                                            Washington, DC


                                          Director, Rulings
                                          and Agreements
                                            Washington, DC



         Manager,                              Program                               Manager,
       Technical Unit                         Manager,                              Guidance Unit
       Washington, DC                       Determinations                          Washington, DC
                                                 Unit
                                             Cincinnati, OH

         Technical                                                                    Guidance
         Specialists                        Determinations                            Specialists
       Washington, DC                         Specialists                           Washington, DC
                                             Cincinnati, OH



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                                Inappropriate Criteria Were Used to
                            Identify Tax-Exempt Applications for Review



                                                                                 Appendix VI

                    Timeline of Written Criteria for
                 Identifying Potential Political Cases

The following illustrates the changes to the written criteria provided to Determinations Unit
employees for identifying applications for the team of specialists.

       Date                           Criteria Developed or Actions Taken

  February 2010    ************************1******************************
                   ************************1**************.
   March–April     The Determinations Unit began searching for other requests for tax
      2010         exemption involving the Tea Party, Patriots, 9/12, and I.R.C. § 501(c)(4)
                   applications involving political sounding names, e.g., “We the People” or
                   “Take Back the Country.”
    July 2010      Determinations Unit management requested its specialists to be on the
                   lookout for Tea Party applications.
   August 2010     First BOLO listing issued with criteria listed as “…various local
                   organizations in the Tea Party movement…applying for exemption under
                   501(c)(3) or 501(c)(4).”
    July 2011      Criteria changed to “Organizations involved with political, lobbying, or
                   advocacy for exemption under 501(c)(3) or 501(c)(4)” based on the
                   concerns the Director, EO, raised in June 2011.
  January 2012     Criteria changed to “Political action type organizations involved in
                   limiting/expanding government, educating on the constitution and bill of
                   rights, social economic reform/movement” based on Determinations Unit
                   concerns that the July 2011 criteria was too generic.
    May 2012       Criteria changed to “501(c)(3), 501(c)(4), 501(c)(5), and 501(c)(6)
                   organizations with indicators of significant amounts of political campaign
                   intervention (raising questions as to exempt purpose and/or excess private
                   benefit).”




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                                        Inappropriate Criteria Were Used to
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                                                                                                   Appendix VII

                       Comprehensive Timeline of Events

    The following chart illustrates a timeline of events from February 2010 through July 2012
    involving the identification and processing of potential political cases. It shows that there was
    confusion about how to process the applications, delays in the processing of the applications, and
    a lack of management oversight and guidance. The timeline was developed using documentation
    provided by the EO function as well as numerous interviews with EO function personnel.

    Date          Event                                                      Additional Details                Source

 February 25,     ****************1************************                                                    E-Mail
    2010
  Around          The Determinations Unit Group Manager asked a              Determinations Unit              Interview
March 1, 2010     specialist to search for other Tea Party or similar        personnel indicated that
                  organizations’ applications in order to determine the      they used the description
                  scope of the issue. The specialist continued to complete   Tea Party as a shorthand
                  searches for additional cases until the precursor to the   way of referring to the
                  BOLO listing was issued in May 2010.                       group of cases involving
                                                                             political campaign
                                                                             intervention rather than to
                                                                             target any particular group.
                                                                             The specialist used Tea
                                                                             Party, Patriots, and 9/12 as
                                                                             part of the criteria for these
                                                                             searches.
March 16–17,      Ten Tea Party cases were identified. The Acting            Not all of the ten cases had      E-Mail
   2010           Manager, Technical Unit, requested two more cases be       Tea Party in their names.
                  transferred to Washington, D.C.
                  ***********************1*********************
April 1–2, 2010   The new Acting Manager, Technical Unit, suggested the                                        E-Mail
                  need for a Sensitive Case Report on the Tea Party cases.
                  The Determinations Unit Program Manager agreed.
 April 5, 2010    ****************1***************************                                                 E-Mail
 April 5, 2010    A Determinations Unit specialist developed a list of       While the heading of the          E-Mail
                  18 identified Tea Party cases during a search of           document listing these
                  applications. Three had already been approved as           18 cases referred to Tea
                  tax-exempt.                                                Party cases, not all of the
                                                                             organizations listed had
                                                                             Tea Party in their names.


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                                       Inappropriate Criteria Were Used to
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    Date         Event                                                       Additional Details                Source

April 19, 2010   The first Sensitive Case Report was prepared by the         Sensitive Case Reports are     Documentation
                 Technical Unit.                                             shared with the Director,
                                                                             Rulings and Agreements,
                                                                             and a chart summarizing
                                                                             all Sensitive Case Reports
                                                                             is provided to the Director,
                                                                             EO.
April 25–26,     The Determinations Unit Program Manager requested                                             E-Mail
   2010          Technical Unit contacts for the specialist assigned to
                 work other Tea Party cases. Contacts were received.
                 *************************1*******************
                 *********************
May 17, 2010     The Determinations Unit specialist will send additional                                       E-Mail
                 information request letters to the Technical Unit for
                 review prior to issuance as part of the Technical Unit’s
                 attempt to provide assistance to the Determinations Unit.
May 26, 2010     ******************1**************************                                                 E-Mail
                 **************
May 27, 2010     The Technical Unit began reviewing additional                                                Interview
                 information request letters prepared by the                                                 and E-Mail
                 Determinations Unit.
June 7, 2010     Determinations Unit began training its specialists on                                      Documentation
                 emerging issues to watch for, including an emerging
                 issue referred to as Tea Party Cases.
June 14, 2010    *******************1*************************                                                 E-Mail
June 30, 2010    ********************1************************               **********1***********            E-Mail
  July 2010      Determinations Unit management requested its                                                  E-Mail
                 specialists to be on the lookout for Tea Party
                 applications.
 July 2, 2010    ***************1*****************************                                                 E-Mail
July 27, 2010    Prior to the BOLO listing development, an e-mail was                                       Interview and
                 sent updating the description of applications involving                                    Documentation
                 potential political campaign intervention and providing a
                 coordinator contact for the cases. The description was
                 changed to read, “These cases involve various local
                 organizations in the Tea Party movement [that] are
                 applying for exemption under 501(c)(3) or 501(c)(4).”




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                                          Inappropriate Criteria Were Used to
                                      Identify Tax-Exempt Applications for Review




     Date          Event                                                       Additional Details               Source

August 12, 2010    The BOLO listing was developed by the Determinations                                      Interview and
                   Unit in order to replace the existing practice of sending                                 Documentation
                   separate e-mails to all Determinations Unit employees as
                   to cases to watch for, potentially abusive cases, cases
                   requiring processing by the team of specialists, and
                   emerging issues. The description of applications
                   involving potential political campaign intervention on
                   the BOLO listing was the same description used in the
                   July 27, 2010, e-mail.
  August 2010      The responsibility for applications involving potential                                   Interview and
                   political campaign intervention was moved to a different                                  Documentation
                   team of specialists as part of a group realignment within
                   the Determinations Unit.
  October 2010     Applications involving potential political campaign         Per the Director, Rulings       Interviews
                   intervention were transferred to another Determinations     and Agreements, there was
                   Unit specialist. The specialist did not work on the cases   a miscommunication about
                   while waiting for guidance from the Technical Unit.         not working the cases
                                                                               while waiting for guidance.
  October 19,      Technical Unit personnel forwarded a memorandum to          The list included 40 cases,      E-Mail
     2010          their Acting Manager describing the work completed on       18 of which did not have
                   the Tea Party cases by the Technical Unit. Included was     Tea Party in their names.
                   a list of the cases the Technical Unit had assisted the
                   Determinations Unit with.
  October 26,      Determinations Unit personnel raised concerns to the                                         E-Mail
     2010          Technical Unit with the approach being used to develop
                   the Tea Party cases: Why does the Technical Unit need
                   to review every additional information request letter
                   when a template letter could be approved and used on all
                   the cases?
 November 16,      A new coordinator contact for potential political cases                                   Interview and
    2010           was announced.                                                                            Documentation
November 16–17, A Determinations Unit Group Manager raised concern to                                           E-Mail
     2010       the Determinations Unit Area Manager that they are still
                waiting for an additional information request letter
                template from the Technical Unit for the Tea Party cases.
                The coordinator had received calls from taxpayers
                checking on the status of their applications.
 November 17,      The Determinations Unit Program Manager discussed                                            E-Mail
    2010           Tea Party cases with the Technical Unit manager.
                   Review of the cases by the Technical Unit found that not
                   all of the cases had the same issues so a template letter
                   had not been developed.


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       Date      Event                                                       Additional Details               Source

December 13,     The Determinations Unit Program Manager asked the                                             E-Mail
   2010          Technical Unit manager for a status on the Tea Party
                 cases. The Technical Unit manager responded that they
                 were going to discuss the cases with the Senior
                 Technical Advisor to the Director, EO, shortly.
 January 28,     The Determinations Unit Program Manager requested an                                          E-Mail
    2011         update on the Tea Party cases from the Technical Unit
                 Acting Manager.
 January 2011    A new person took over the Technical Unit Acting                                             Interview
                 Manager role.
 February 3,     The Technical Unit Acting Manager provided an update                                          E-Mail
    2011         to the Determinations Unit Program Manager on the
                 cases being worked by the Technical Unit. Letters were
                 being developed and would be reviewed shortly.
March 2, 2011    A Determinations Unit Group Manager reminded the                                              E-Mail
                 Determinations Unit Program Manager to follow up with
                 the Technical Unit on the status of the Tea Party cases.
        .




March 30, 2011   *******************1************************.1                                                E-Mail
March 31, 2011   The Determinations Unit Program Manager stated that,        This contradicts the              E-Mail
                 while waiting for assistance from the Technical Unit, the   October 2010 decision not
                 Determinations Unit still needed to work Tea Party cases    to work cases until
                 to the extent possible.                                     assistance is received from
                                                                             the Technical Unit and
                                                                             supports the statement of
                                                                             the Director, Rulings and
                                                                             Agreements, that there was
                                                                             a miscommunication about
                                                                             not working the cases
                                                                             while awaiting assistance.
April 13, 2011   *****************1***************************.                                                E-Mail
June 1–2, 2011   The Acting Director, Rulings and Agreements, requested                                        E-Mail
                 criteria used to identify Tea Party cases from the
                 Determinations Unit Program Manager. The
                 Determinations Unit Program Manager requested criteria
                 from a Determinations Unit Group Manager.


   1
     The Taxpayer Advocate Service is an independent organization within the IRS that provides assistance to
   taxpayers whose tax problems have not been resolved through normal IRS channels. Taxpayer Advocate Service
   employees must, at times, rely on assistance from employees assigned to other IRS functions. To request assistance,
   the Taxpayer Advocate Service issues an Operations Assistance Request specifying the actions needed to help
   resolve the taxpayer’s problem.
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   Date         Event                                                      Additional Details                Source

June 2, 2011    A Determinations Unit Group Manager provided criteria      These criteria are very           E-Mail
                for identifying potential Tea Party cases to the           different than the
                Determinations Unit Program Manager. Information           BOLO listing criteria
                was then forwarded to the Acting Director, Rulings and     available at the time.
                Agreements.
June 6, 2011    **************************1******************                                                E-Mail
                *******************************




June 6, 2011    The Acting Director, Rulings and Agreements,                                                 E-Mail
                commented that the criteria being used to identify Tea
                Party cases may have resulted in over-inclusion.
                **********************1**********************
                **
June 6, 2011    The Determinations Unit Program Manager mentioned                                            E-Mail
                that the Determinations Unit needed assistance from the
                Technical Unit to ensure consistency.
June 29, 2011   A briefing was held with the Director, EO. The briefing    The briefing paper for the     Documentation
                paper noted that the Determinations Unit sent cases that   Director, EO, was prepared      and E-Mail
                met any of the criteria below to a designated team of      by Tax Law Specialists in
                specialists to be worked:                                  the Technical Unit and the
                                                                           Guidance Unit and was
                 “Tea Party,” “Patriots,” or “9/12 Project” is            reviewed by the Acting
                  referenced in the case file.                             Manager, Technical Unit.
                 Issues include Government spending, Government           A Guidance Unit specialist
                  debt, or taxes.                                          was the primary author of
                                                                           the briefing paper.
                 Education of the public via advocacy/lobbying to
                  “make America a better place to live.”                   During the briefing, the
                                                                           Director, EO, raised
                 Statements in the case file criticize how the country    concerns over the language
                  is being run.                                            of the BOLO listing
                Over 100 applications were identified by this time. It     criteria. The Director, EO,
                was decided to develop a guide sheet for processing        instructed that the criteria
                these cases.                                               be immediately revised.

July 5, 2011    A conference call was held with the Technical Unit; the                                      E-Mail
                Director, EO; and the Determinations Unit Program
                Manager. They developed new criteria for identifying
                cases. The Determinations Unit Program Manager made
                changes to the BOLO listing. The criteria were changed
                to “organizations involved with political, lobbying, or
                advocacy for exemption under 501(c)(3) or 501(c)(4).”


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                                         Inappropriate Criteria Were Used to
                                     Identify Tax-Exempt Applications for Review




     Date         Event                                                        Additional Details          Source

 July 5, 2011     The EO function Headquarters office would be putting a                                   E-Mail
                  document together with recommended actions for
                  identified cases.
 July 23, 2011    The Technical Unit was assigned a new person to                                          E-Mail
                  coordinate with the Determinations Unit.
 July 24, 2011    Work commenced on the guide sheet when the Acting                                        E-Mail
                  Manager, Technical Unit, asked tax law specialists to
                  draft a list of things for Determinations Unit specialists
                  to look for when working these cases.
August 4, 2011    Rulings and Agreements office personnel held a meeting                                   E-Mail
                  with Chief Counsel so that everyone would have the
                  latest information on the issue.
August 4, 2011    A Guidance Unit specialist asked if Counsel would                                        E-Mail
                  review a check sheet prior to issuance to the
                  Determinations Unit. The Acting Director, Rulings and
                  Agreements, responded that Counsel would review it
                  prior to issuance.
August 10, 2011   *******************1*************************                                         Documentation
                  **********************
September 15,     The Determinations Unit Program Manager sent a list of                                   E-Mail
    2011          all identified cases to the Acting Director, Rulings and
                  Agreements, so that the Technical Unit could complete a
                  limited “triage” of the cases using available information
                  from the electronic case files. A Technical Unit
                  specialist reviewed the list to determine if any cases
                  could be closed on merit or closed with an adverse
                  determination letter. This triage was considered a third
                  screening.
September 21,     The draft guide sheet was sent for review and comment                                    E-Mail
    2011          to various EO function Headquarters office employees.
 October 2011     A new person took over as the Acting Director, Rulings                                  Interview
                  and Agreements.
  October 24,     A Technical Unit manager forwarded initial triage results                                E-Mail
     2011         to the Determinations Unit.
  October 25,     Based on the categories and terminology used in the                                      E-Mail
     2011         triage results spreadsheet, the Determinations Unit
                  Program Manager was unclear what the Determinations
                  Unit should do with the triage results – close cases,
                  develop further, etc. – and requested the status on the
                  guidance from the Technical Unit.


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     Date         Event                                                          Additional Details          Source

  October 26,     A Technical Unit specialist provided further explanation                                   E-Mail
     2011         of the triage results in an e-mail to the Determinations
                  Unit Program Manager.
  October 30,     The Determinations Unit Program Manager contacted                                          E-Mail
     2011         the Acting Manager, Technical Unit, asking additional
                  questions regarding the triage results and requesting a
                  status update on the Technical Unit guidance.
                  ******************1**************************
                  ******************1**************************
  November 3,     An updated draft version of the guide sheet was sent to                                    E-Mail
     2011         EO function employees for comment.
  November 6,     The Acting Manager, Technical Unit, had a Technical                                        E-Mail
     2011         Unit specialist provide more details on the triage results,
                  and informed the Determinations Unit Program Manager
                  that the guidance was being reviewed prior to issuance.
  November 6,     The Acting Director, Rulings and Agreements, informed                                     Interview
     2011         the Acting Manager, Technical Unit, and the                                              and E-Mail
                  Determinations Unit Program Manager that, based on
                  feedback received, the guidance developed would not
                  work in its present form – it was “too lawyerly” to be
                  useful and needed the Determinations Unit input.
 November 15,     The Determinations Unit Program Manager forwarded                                          E-Mail
    2011          the Technical Unit specialist’s triage results to the Senior
                  Technical Advisor to the Director, EO, per the Director’s
                  request.
 November 22,     The Acting Manager, Technical Unit, forwarded the                                          E-Mail
    2011          clarified triage results to the Determinations Unit
                  Program Manager.
November 23–30, A new Determinations Unit coordinator was assigned                                          Interview
     2011       oversight of the cases by a Determinations Unit Group                                      and E-Mail
                Manager. The draft Technical Unit guidance was
                provided to the Group Manager. The coordinator began
                working cases after receiving the guidance in
                anticipation of a team being assembled to work the
                cases.
November 2011     The Determinations Unit specialist assigned the cases                                     Interview
                  began working them after receiving the draft Technical
                  Unit guidance.




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    Date        Event                                                         Additional Details          Source

December 7–9,   A team of Determinations Unit specialists was created to                                  E-Mail
    2011        review all the identified cases. An employee from
                Quality Assurance was also part of the team. The
                Technical Unit provided contacts for them.
December 16,    The first meeting was held by the team of specialists.                                   Interview
   2011                                                                                                 and E-Mail
January 2012    The first batch of letters requesting additional                                         Interview
                information for applications containing incomplete or                                   and E-Mail
                missing information was issued by Determinations Unit
                specialists based, in part, on their reading of the draft
                guidance issued by the Technical Unit.
January 2012    A Determinations Unit specialist was tasked with                                         Interviews
                performing a secondary screening of identified potential
                political cases to ensure that they involved political
                activities and not just general or lobbying advocacy.
 January 25,    The BOLO listing criteria were again updated. The                                      Interview and
    2012        criteria was revised as “political action type                                         Documentation
                organizations involved in limiting/expanding
                Government, educating on the Constitution and Bill of
                Rights, social economic reform/movement.” The
                coordinator contact was changed as well.
 February 27,   A member of the team of specialists asked when to start                                     E-Mail
    2012        issuing additional information request letters to
                applicants again.
 February 27,   The Determinations Unit Program Manager questioned                                          E-Mail
    2012        why the team of specialists was not issuing additional
                information request letters. The Determinations Unit
                Group Manager for the team of specialists had told the
                team coordinator to stop developing template questions,
                not to stop issuing additional information request letters.
                The miscommunication was corrected on
                February 29, 2012.
 February 29,   The Director, EO, requested that the Acting Director,                                       E-Mail
    2012        Rulings and Agreements, develop a letter to clearly
                inform applicants what was going to happen if they did
                not respond to the additional information request letters
                and giving them more time for their responses.




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    Date         Event                                                       Additional Details             Source

 February 29,    The Director, EO, stopped any more additional                                                E-Mail
    2012         information request letters from being issued on
                 advocacy cases until new guidance was provided to the
                 Determinations Unit. In addition, the Acting Director,
                 Rulings and Agreements, discussed with the
                 Determinations Unit Program Manager about having
                 specialists print out website information and asking the
                 organizations to verify the information instead of asking
                 for applicants to print out the website information.
February–March   Numerous news articles began to be published with                                       Documentation
     2012        complaints from Tea Party organizations about the IRS’s
                 unfair treatment. Congress also began to show interest
                 in the IRS’s treatment of Tea Party organizations.
 March 2012      A new person became Acting Group Manager of the                                           Interview
                 team of specialists.
March 1, 2012    A draft list of template questions was prepared by the      Questions included asking      E-Mail
                 team of specialists and forwarded to the Guidance Unit.     for donor information.
March 5, 2012    The Acting Manager, Technical Unit, established                                            E-Mail
                 procedures for reviewing the first favorable
                 determination letter drafted by the Determinations Unit.
March 6, 2012    ****************1****************************                                              E-Mail
                 ***********************
March 8, 2012    The Deputy Commissioner for Services and                                                   E-Mail
                 Enforcement requested that, if a taxpayer called about
                 having to provide donor information, the Determinations
                 Unit would allow them to not send the donor names but
                 would inform them that the IRS may need it later.
March 8, 2012    The Acting Director, Rulings and Agreements, sent to                                       E-Mail
                 the Determinations Unit Program Manager for comment
                 a draft letter on giving applicants additional time to
                 respond to the additional information request letters.
                 The Determinations Unit Program Manager raised a
                 concern of giving organizations that were not compliant
                 with standard response timelines special treatment.
March 15, 2012   The Determinations Unit received guidance on how to                                       Interview
                 handle different scenarios based upon the status of their                                and E-Mail
                 cases. Those I.R.C. § 501(c)(4) organizations that had
                 not responded to an additional information request letter
                 were issued another letter giving them an additional
                 60 days to respond. Those letters were to be issued by
                 March 16, 2012. This additional time letter was a
                 one-time occurrence.

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     Date         Event                                                        Additional Details             Source

March 23, 2012,   The Senior Technical Advisor to the Acting                                                 Interview
and March 27,     Commissioner, Tax Exempt and Government Entities
    2012          Division, and the Deputy Commissioner for Services and
                  Enforcement discussed concerns with the media
                  attention the Tea Party applications were receiving. The
                  Deputy Commissioner for Services and Enforcement
                  asked the Senior Technical Advisor to look into what
                  was going on in the Determinations Unit and make
                  recommendations.
  April 2012      The Acting Director, Rulings and Agreements, learned                                       Interview
                  that the BOLO listing criteria had been changed on
                  January 25, 2012, and informed the Director, EO.
 April 4, 2012    The Determinations Unit received the extension letter for                                   E-Mail
                  issuance to I.R.C. § 501(c)(3) organizations that had not
                  responded to a previous additional information request
                  letter.
April 17, 2012    Tax Exempt and Government Entities Division                                                 E-Mail
                  Headquarters office employees received the Technical
                  Unit triage results and the draft guidance provided by the
                  Technical Unit. Template questions developed by the
                  team of specialists were also provided.

April 23, 2012    Senior Technical Advisor to the Acting Tax Exempt and                                      Interview
                  Government Entities Division Commissioner visited the
                  Determinations Unit in Cincinnati, Ohio, with a group of
                  EO function employees, and reviewed about half of the
                  identified cases.
April 24, 2012    The Acting Director, Rulings and Agreements, requested                                      E-Mail
                  that the Senior Technical Advisor to the Director, EO,
                  review all the additional information request letters
                  issued and identify troubling questions, which
                  organizations received them, and which members of the
                  team of specialists asked them.

April 25, 2012    The Senior Technical Advisor to the Director, EO,            The results included the       E-Mail
                  provided results of the additional information request       names of donors as a
                  letter review, including a list of troubling questions.      troubling question.
April 25, 2012    Chief Counsel’s office provided additional comments on                                      E-Mail
                  the draft guidance developed for the Determinations
                  Unit.




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   Date        Event                                                        Additional Details           Source

May 8, 2012    The Determinations Unit Program Manager was                                               E-Mail
               informed that EO function Headquarters office
               employees planned to visit Cincinnati, Ohio, to provide
               training on cases and perform a review of the cases to
               recommend what additional actions, if any, were needed
               to make a determination.
May 9, 2012    The Director, Rulings and Agreements, asked about the                                     E-Mail
               process for updating the BOLO listing.
May 14–15,     Training was held in Cincinnati, Ohio, on how to process                                  E-Mail
  2012         identified potential political cases. The Senior Technical
               Advisor to the Director, EO, took over coordination of
               the team of specialists from the Determinations Unit.
May 16, 2012   A joint team of Determinations Unit specialists and                                       E-Mail
               EO function Headquarters office employees began
               reviewing all potential political cases began in
               Cincinnati, Ohio. Cases were divided into four groups
               with recommendations for how to proceed: favorable
               determination, favorable with limited development,
               significant development, and probably adverse. This
               took around three weeks to complete. A worksheet was
               used to document the reviews.
May 17, 2012   The Director, Rulings and Agreements, issued a               Suggested additions and     Interview
               memorandum outlining new procedures for updating the         changes must be approved   and E-Mail
               BOLO listing. The BOLO listing criteria were updated         by a Determinations Unit
               again. New criteria reads: “501(c)(3), 501(c)(4),            coordinator, the
               501(c)(5), and 501(c)(6) organizations with indicators of    Determinations Unit
               significant amounts of political campaign intervention       Program Manager, and the
               (raising questions as to exempt purpose and/or excess        Director, Rulings and
               private benefit).”                                           Agreements.
May 21, 2012   The EO function determined that the requested donor                                      Interview
               information could be destroyed or returned to the                                       and E-Mail
               applicant if not used to make the final determination of
               tax-exempt status. It does not need to be kept in the
               administrative file. A letter would be issued to the
               organizations informing them that the donor information
               was destroyed.
May 24, 2012   A telephone call script was developed to inform some                                      E-Mail
               organizations that had not responded to the additional
               information requests that it was not necessary to send the
               requested information and that their applications had
               been approved. Also, an additional paragraph was
               developed for the determination letter.


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   Date         Event                                                        Additional Details          Source

 May 2012       After the review of identified cases was completed, each                                Interview
                Determinations Unit specialist working cases was
                assigned a Technical Unit employee to work with on the
                cases. The Technical Unit employee reviewed all
                additional information request letters prior to issuance.
                The Quality Assurance Unit began reviewing
                100 percent of the cases prior to closure. The Quality
                Assurance Unit review will shift from 100 percent
                review to a sample review once a comfort level with the
                results of the quality review was achieved.
 May 2012       A decision was made to refer cases to the Review of                                     Interview
                Operations Unit for follow-up if there were indications                                and E-Mail
                of political campaign intervention but not enough to
                prevent approval of tax-exempt status.
June 4, 2012    A draft letter was developed to send to organizations that                               E-Mail
                provided donor information. The letter would inform the
                organizations that the information was destroyed.
June 7, 2012    The Director, Rulings and Agreements, provided                                           E-Mail
                guidance on how to process cases now that they had
                been reviewed and divided into categories. Any new
                cases received would go through the same review
                process prior to assignment.
July 15, 2012   A new Acting Determinations Unit Group Manager was                                      Interview
                overseeing the team of specialists.




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Management’s Response to the Draft Report




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